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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO: 17-CR-20627-MOORE



     UNITED STATES OF AMERICA,

     vs.

     TAVAURUS HUNTLEY,

             Defendant.
                                                       /

                         AMENDED REPORT AND RECOMMENDATION ON
                                    SUPERVISED RELEASE VIOLATION
             This cause has been referred to the undersigned to take all necessary and proper action as

     required with respect any violations of Supervised Release as to Defendant Tavaurus Huntley

     (ECF No. 271). Upon referral from Chief District Court Judge K. Michael Moore, the matter was

     set for a telephonic status conference (ECF No. 272).

             A status conference was conducted on May 14, 2021, for the purpose of scheduling an

     evidentiary hearing. Defendant, through counsel, stated his intention to admit the violation

     charged at the final hearing before Chief Judge Moore. Defendant requests that no evidentiary

     hearing be set before the undersigned, and that the matter be set for a final revocation hearing.

             Accordingly, and upon Defendant’s representation that he wishes to admit the violation,

     it is the recommendation of the undersigned that the Court accept Defendant’s admission of guilt

     and find him guilty of the Supervised Release Violations as charged.

           The parties will have 3 1 calendar days from the date of service of this Report and



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  The period of time has been shortened because this Amended Report and Recommendation is entered only to correct a
 scrivener’s error in the first-filed Report. No objections were filed in the 14-day period following the original Report.
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  Recommendation within which to file written objections, if any, for consideration by the United

  States District Judge. Pursuant to Fed. R. Crim. P. 59(b), Eleventh Circuit Rule 3-1, and

  accompanying Internal Operating Procedure 3, the parties are hereby notified that failure to object

  in accordance with 28 U.S.C. § 636(b)(1) waives the right to challenge on appeal the District Court’s

  order based on unobjected-to factual and legal conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

        RESPECTFULLY SUBMITTED in Chambers at Miami, Florida, this 1st day of June, 2021.



                                                       LAUREN F. LOUIS
                                                       UNITED STATES MAGISTRATE JUDGE


  cc:    The Honorable K. Michael Moore
         Counsel of record




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